                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION


TIMOTHY J. FAST
on behalf of himself and all
others similarly situated,

               Plaintiff,

       v.                                                    Case No. 16-CV-1637

CASH DEPOT, LTD.,

               Defendant.


                        DECLARATION OF JAMES A. WALCHESKE


Pursuant to 28 U.S.C. § 1746, I hereby declare the following to be true under penalty of perjury:

1.     I am counsel for Plaintiff in the above-captioned matter.

2.     Attorney Kelly L. Temeyer of Walcheske & Luzi, LLC has assisted me with the litigation

       of this case.

3.     On June 14, 2017, Attorney Temeyer called me and asked if I had received or knew about

       a letter from Defendant’s counsel that had been mailed the prior week. I told her I had not

       seen anything, but to check my mail, which she did. Attorney Temeyer informed me that

       we received correspondence from Defendant’s counsel containing: a check from Defendant

       made payable to Plaintiff; a letter stating, in part, that the check allegedly represented the

       full monetary amount Plaintiff could receive in his case; and discovery requests concerning

       our attorneys’ fees and costs.




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4.   Prior to receiving Defendant’s check made payable to Plaintiff, neither Defendant nor

     Defendant’s counsel indicated to me that Defendant wanted to or would send a check to

     Plaintiff.

5.   I remain in possession of Defendant’s check made payable to Plaintiff. Plaintiff has not

     cashed or deposited the check. Neither I nor Plaintiff has ever indicated acceptance of

     Defendant’s payment to Defendant or Defendant’s counsel.

6.   On June 21, 2017, I received Defendant’s Responses to Plaintiff’s First Set of

     Interrogatories and Requests for Production of Documents via email (“Defendant’s

     discovery responses”).

7.   Attached hereto as Exhibit A is a true and correct copy of Defendant’s discovery responses

     (exhibits omitted).

8.   In reviewing Defendant’s discovery responses, I noted that Defendant failed and refused

     to provide any responsive information relating to the putative collective, which was

     necessary to support our anticipated motion for conditional certification. Defendant’s

     discovery responses did so based on its objection that such information was “irrelevant,

     primarily due to the fact Cash Depot has paid its field service technicians all wages owed

     to them, including overtime.” In other words, Defendant refused to provide us with highly

     relevant information necessary to Plaintiff’s pursuit of claims on behalf of a collective

     based on its own, subjective determination that Plaintiff’s claims were moot as a result of

     additional compensation it allegedly provided to Plaintiff and the putative collective.

9.   Defendant’s discovery responses, specifically its Response to Interrogatory No. 1, made

     clear that while it allegedly provided Plaintiff with liquidated damages, it did not do so for




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      the putative collective. Rather, it provided “interest on any wages owed” to the putative

      class.

10.   Attached as Exhibit B to Defendant’s discovery responses was “a copy of the spreadsheet

      prepared by Schenck reflecting its calculation of wages due and owing to Mr. Fast.”

11.   Attached hereto as Exhibit B is a true and correct copy of “Exhibit B” to Defendant’s

      discovery responses.

12.   Prior to providing Defendant’s discovery responses, Defendant made no indication that it

      had provided additional compensation to the putative collective or even that it was

      contemplating doing so. The parties had never even discussed possible damages and, to

      Plaintiff’s knowledge, Defendant was denying liability in this matter.

13.   Although Defendant’s discovery responses stated that additional compensation was paid

      to Plaintiff and the putative collective, Defendant did not provide any proof thereof or

      details regarding that compensation, other than to state that the amount was “less than

      $22,000.” Defendant did not identify the actual amount paid, the calculations underlying

      its payments, the identity of any individuals who received such payments, or even the

      number of individuals to whom Defendant provided such payments.

14.   On June 23, 2017, I emailed Defendant’s counsel requesting that the parties discuss “the

      status of this case,” including a discussion of “who received the checks; what the checks

      represented; who performed the calculations underlying the check amounts; and whether

      [Defendant would] be willing to stipulate to stay this matter’s deadlines pending our joint

      assessment of where this case currently stands in light of those checks.” That meeting was

      later scheduled for June 28, 2017.




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15.   Attached hereto as Exhibit C is a true and correct copy of my June 23, 2017 email to

      Defendant’s counsel.

16.   Between June 23, 2017 and June 28, 2017, I reviewed the records and documents Defendant

      produced in discovery, including Defendant’s Exhibit B. Based on my review, I determined

      that Schenck, S.C. (“Schenck”) may not have correctly and legally determined the “regular

      rate” for Plaintiff and, by extension, all current and former employees of Defendant to whom

      Defendant provided additional compensation.

17.   On June 28, 2017, I engaged in a teleconference with Attorney George Burnett, one of the

      attorneys for Defendant (“the June 28, 2017 teleconference”).

18.   During the June 28, 2017 teleconference, Attorney Burnett stated that Plaintiff’s claims were

      mooted by Defendant’s payments. In response, I told Attorney Burnett that I could not certify

      to the Court that this matter was moot because Defendant had not yet provided any

      information indicating who was paid, the amounts paid to each person, and the amounts’

      underlying calculations.

19.   During the June 28, 2017 teleconference, Attorney Burnett and I discussed Schenck’s

      calculations as summarized by Defendant’s Exhibit B as produced by Defendant. When

      asked, Attorney Burnett confirmed that the same calculations presented in Defendant’s

      Exhibit B, which related solely to Plaintiff, were the same as those performed for all current

      and former employees of Defendant. I told Attorney Burnett that I did not believe those

      calculations were correct and I tried explaining my understanding of how Schenck did its

      calculations and how they should have been conducted, but Attorney Burnett did not have

      Defendant’s Exhibit B in front of him, so he was not able to follow my explanation.




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20.   During the June 28, 2017 teleconference, Attorney Burnett told me that if, in fact, Defendant

      owed additional compensation, it would simply disburse additional checks.

21.   During the June 28, 2017 teleconference and in light of my stated disagreement with

      Schenck’s calculations, Attorney Burnett offered to arrange a meeting between Schenck and

      I, which I accepted.

22.   During the June 28, 2017 teleconference and because of Defendant’s failure to provide any

      information necessary to support our anticipated motion for conditional certification, as

      well as its alleged payment of unknown amounts to unknown individuals, I asked Attorney

      Burnett if Defendant would stipulate to a stay of proceedings while these matters were

      addressed. He agreed.

23.   On July 6, 2017, I emailed a letter to Defendant’s counsel, as well as Plaintiff’s Second Set

      of Interrogatories and Requests for Production of Documents to Defendant (“Plaintiff’s

      second set of discovery”).

24.   Attached hereto as Exhibit D is a true and correct copy of my July 6, 2017 email, as well

      as the email correspondence between the parties in response and subsequent thereto.

25.   Attached hereto as Exhibit E is a true and correct copy of my July 6, 2017 letter to

      Defendant’s counsel.

26.   Attached hereto as Exhibit F is a true and correct copy of Plaintiff’s second set of discovery.

27.   Plaintiff’s second set of discovery requested information relating to the payments

      Defendant allegedly made to its current and former employees, as asserted in its discovery

      responses.

28.   On July 20, 2017, I engaged in a teleconference with Attorney Jodi Arndt Labs, one of

      Defendant’s attorney, and Amy Bradley from Schenck (“the July 20, 2017 teleconference”).



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29.   Prior to the July 20, 2017 teleconference, I emailed a copy of Defendant’s Exhibit B, as

      produced by Defendant, to Defendant’s counsel to facilitate our discussion.

30.   Attached hereto as Exhibit G is a true and correct copy of the email chain leading up to the

      July 20, 2017 teleconference, most relevantly containing my emails to Defendant’s counsel

      forwarding a copy of Defendant’s Exhibit B for purposes of facilitating our discussion.

31.   During the July 20, 2017 teleconference, Ms. Bradley confirmed my understanding of

      Schenck’s method of calculating Plaintiff’s and, by extension, the putative collective’s

      “regular rates” of pay for purposes of determining overtime compensation.

32.   During the July 20, 2017 teleconference, I told Attorney Labs and Ms. Bradley that I had

      performed my own calculations, that I had done them differently than Schenck, and that they

      resulted in amounts different than those calculated by Schenck. After some brief discussion

      and in light of the difference between methods of calculation and their corresponding results,

      we ended the teleconference with my stating that I would review my calculations and follow-

      up with Attorney Labs.

33.   During the July 20, 2017 teleconference and because of Attorney Burnett’s statement to

      me during the June 28, 2017 teleconference that Defendant would simply disburse

      additional checks to Plaintiff and the putative collective if additional monies were due and

      owing, I did not share my method of calculation with Attorney Labs and Ms. Bradley.

34.   Subsequent to the July 20, 2017 teleconference, I reviewed the calculations I had

      performed. Based on applicable statutory language and case law, I determined that my

      calculations were legally “correct” and that those performed by Schenck were legally

      “incorrect.”




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35.   As a follow-up to Attorney Labs, on July 25, 2017, I sent a letter to her via email. Attached

      hereto as Exhibit H are true and correct copies of that letter, as well as the email to which

      it was attached.

36.   Defendant did not respond to my July 25, 2017 letter.

37.   On August 4, 2017, I received correspondence from Defendant’s counsel containing a

      check from Defendant made out to my firm in the amount of $13,333.35, as well as a letter

      stating, in part: “This check represents payment of the costs and attorneys’ fees incurred in

      advancing Mr. Fast’s wage claim against Cash Depot.”

38.   Attached hereto as Exhibit I are true and correct copies of the check received from Defendant

      and its accompanying letter from Defendant’s counsel.

39.   The check from Defendant to my firm remains in my possession. I have not deposited or

      otherwise ever indicated any measure of acceptance of Defendant’s check.



      Dated this 1st day of September, 2017.

                                                    s/ James A. Walcheske
                                                    James A. Walcheske




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